Case 1:23-cv-00108-LMB-JFA Document 630-5 Filed 05/16/24 Page 1 of 8 PageID# 12107




              EXHIBIT 3
Case 1:23-cv-00108-LMB-JFA Document 630-5 Filed 05/16/24 Page 2 of 8 PageID# 12108

                                HIGHLY CONFIDENTIAL

                                                                    Page 1

   1                            UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
   2                                 ALEXANDRIA DIVISION
   3
                      __________________________
   4                                            :
                      UNITED STATES OF AMERICA, :
   5                  et al.,                   :
                                                :
   6                         Plaintiffs         :
                                                :
   7                      v.                    : No.         1:23-cv-00108
                                                :
   8                  GOOGLE, LLC,              :
                                                :
   9                         Defendants.        :
                      __________________________:
 10
 11                                     HIGHLY CONFIDENTIAL
 12
                                    Monday, August 21, 2023
 13
 14                           Video Deposition of CHRISTOPHER KOEPKE,
 15                   taken at the Law Offices of Paul, Weiss,
 16                   Rifkind, Wharton & Garrison LLP, 2001 K St NW,
 17                   Washington, DC, beginning at 9:35 a.m. Eastern
 18                   Standard Time, before Ryan K. Black, Registered
 19                   Professional Reporter, Certified Livenote
 20                   Reporter and Notary Public in and for the
 21                   District of Columbia
 22
 23
 24
 25            Job No. CS6043164

                                  Veritext Legal Solutions
       800-567-8658                                                   973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-5 Filed 05/16/24 Page 3 of 8 PageID# 12109

                                                               HIGHLY CONFIDENTIAL
                                                                           Page 2                                                            Page 4
       1   A P P E A R A N C E S:
                                                                                     1         THE VIDEOGRAPHER: Good morning. We are
       2
       3   UNITED STATES DEPARTMENT OF JUSTICE                                       2   going on the record at 9:35 a.m. on August 21st,
           ANTITRUST DIVISION
                                                                                     3   2023. Please note that the microphones are
       4   BY: KATHERINE CLEMONS, ESQ.
              VICTOR LIU, ESQ.                                                       4   sensitive and may pick up whispering and private
       5      ALVIN CHU, ESQ.
              MARK SOSNOWSKY, ESQ. - Via Zoom
                                                                                     5   conversations. Please mute your phones at this
       6   450 5th Street, N.W                                                       6   time. Audio and video recording will continue to
           Washington, DC 20530
       7   202.514.2414                                                              7   take place unless all parties agree to go off the
           katherine.clemons@usdoj.gov                                               8   record.
       8   victor.liu@usdoj.gov
           alvin.chu@usdoj.gov                                                       9         This is Media Unit 1 of the
       9   mark.sosnowsky@usdoj.gov                                                 10   video-recorded deposition of Mr. Christopher
      10   Representing - The United States of America
      11                                                                            11   Koepke in the matter of United States, et al.,
      12   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP,                            12   versus Google, LLC, filed in the United States
           BY: MARTHA L. GOODMAN, ESQ.
      13      HEATHER C. MILLIGAN, ESQ.                                             13   District Court Eastern District of Virginia
           2001 K St NW,                                                            14   Alexandria Division, Case Number
      14   Washington, DC
           202.223.7341                                                             15   1:23-cv-00108-LMB-JFA.
      15   mgoodman@paulweiss.com                                                   16         My name is Orson Braithwaite,
           hmilligan@paulweiss.com
      16                                                                            17   representing Veritext Legal Solutions, and I'm
           Representing - Google LLC                                                18   the videographer. The court reporter is Ryan
      17
      18                                                                            19   Black, from the firm Veritext Legal Solutions.
      19                                                                            20         Counsel will now state their appearances
      20
      21                                                                            21   and affiliations for the record.
      22                                                                            22         MS. GOODMAN: Martha Goodman, from Paul
      23   ALSO PRESENT:
      24   Orson Braithwaite - Legal Videographer                                   23   Weiss, on behalf of Google LLC.
           Kenneth Whitley - Department of Health and Human
                                                                                    24         MS. MILLIGAN: Heather Milligan, also on
      25             Services
      26                                                                            25   behalf of Paul Weiss, for Google.

                                                                           Page 3                                                            Page 5
       1              INDEX                                                          1          MS. CLEMONS: Katherine Clemons, with
       2   TESTIMONY OF: CHRISTOPHER KOEPKE                         PAGE
       3   By Ms. Goodman.................................6                          2    the Department of Justice, on behalf of the
       4             EXHIBITS                                                        3    United States of America, CMS and the witness.
       5   EXHIBIT       DESCRIPTION                        PAGE
       6   Exhibit 65 a document Bates Numbered                                      4          MR. LIU: Victor Liu, also with the
                    CMS-ADS-11906 through 11974...117                                5    Department of Justice, on behalf of the United
       7
           Exhibit 66 a document Bates Numbered
                                                                                     6    States and CMS.
       8            CMS-ADS-23248 through 23337...136                                7          MR. CHU: Alvin Chu, on behalf of United
       9   Exhibit 67 a document Bates Numbered
                                                                                     8    States.
                    CMS-ADS-59892 through 59893...151
      10                                                                             9          MR. WHITLEY: Kenneth Whitley, Office of
           Exhibit 68 a document Bates Numbered                                     10    General Counsel, Department of Health and Human
      11            CMS-ADS-593107 through 593110..167
      12   Exhibit 69 a document Bates Numbered                                     11    Services.
                    CMS-ADS-183807 through 183811..181                              12          MS. GOODMAN: And could the folks
      13
           Exhibit 70 a document Bates Numbered                                     13    attending remotely please state your presence?
      14            CMS-ADS-529199 through 529200..190                              14          MR. SOSNOWSKY: Mark Sosnowsky,
      15   Exhibit 71 a document Bates Numbered
                    CMS-ADS-189390.................251
                                                                                    15    Department of Justice, and I will be in and out
      16                                                                            16    of this deposition remotely. So if you lose me,
           Exhibit 72 a document Bates Numbered
                                                                                    17    please don't -- you can continue.
      17            CMS-ADS-64968 through 64971....258
      18   Exhibit 73 a document Bates Numbered                                     18          THE VIDEOGRAPHER: Thank you.
                    CMS-ADS-440295.................265                              19          Would the court reporter please swear in
      19
           Exhibit 74 a document Bates Numbered                                     20    the witness?
      20            CMS-ADS-531032 through 531072..268                              21                * * *
      21   Exhibit 75 a document Bates Numbered
                    CMS-ADS-569654 through 569667..273                              22    Whereupon --
      22                                                                            23              CHRISTOPHER KOEPKE,
      23
      24
                                                                                    24    called to testify, having been first duly sworn
      25                                                                            25    or affirmed, was examined and testified as

                                                                                                                                   2 (Pages 2 - 5)
                                                                   Veritext Legal Solutions
     800-567-8658                                                                                                                   973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-5 Filed 05/16/24 Page 4 of 8 PageID# 12110

                                              HIGHLY CONFIDENTIAL
                                                        Page 218                                                   Page 220
       1    thing. And -- and just describe other products          1   including Google, have a policy that an ad should
       2    and ask us what our goals are, and what have you,       2   not -- what's the word I'm looking for -- mimic
       3    so that they would have a better understanding          3   -- that's not the word I'm looking for, but it's
       4    about how -- about how their products could be          4   like that, mimic some other existing
       5    used, because, of course, they're trying to sell        5   organization, or mimic the government when you're
       6    their products.                                         6   not the government, basically.
       7       Q. Did you find those meetings to be                 7         So, you know, an ad that says they're
       8    valuable?                                               8   Medicare, and they're not actually Medicare, is
       9           MS. CLEMONS: Objection to form.                  9   misleading to people, and there are a lot of
      10           THE WITNESS: Valuable in what way?              10   those ads on Google. And so when we find them,
      11    BY MS. GOODMAN:                                        11   we send them and they -- we have conversations
      12       Q. Valuable to the work that you do at CMS          12   about that.
      13    in advertising.                                        13      Q. And what steps, if any, do you ask
      14           MS. CLEMONS: Objection; form.                   14   Google to take with respect to these ads -- these
      15           THE WITNESS: I find them valuable, in           15   search ads you're describing?
      16    part, because it's really interesting to me to         16      A. Take them down immediately. Asked for
      17    see how people do their work. And, yes, some of        17   some monitoring support. I've asked for it.
      18    the data analytics that we've actually requested       18   That is what I've asked for.
      19    that they've done for us have been valuable.           19      Q. And what -- what has Google, in return,
      20    BY MS. GOODMAN:                                        20   provided to you with respect to these search ads?
      21       Q. Despite these meetings also being an             21      A. Google has taken ads down when we find
      22    opportunity for Google to explain how their            22   them, and that is Whac-A-Mole because anybody can
      23    products could be used, because, of course,            23   put up an ad on Google if they've got a credit
      24    they're trying to sell their products, does CMS        24   card. Google has created new policies about
      25    still make an independent decision about which         25   taking out ads for health insurance, and have met
                                                        Page 219                                                   Page 221
       1    advertising products or services to use?                1   with us about those policies.
       2       A. Absolutely, yes.                                  2      Q. So is it fair to say that Google is
       3       Q. Okay. Anything else, sitting here                 3   taking steps to address CMS's concerns with
       4    today, that you can recall about any                    4   respect to search ads that mimic the government?
       5    conversations you have had with any individual          5         MS. CLEMONS: Objection to form.
       6    from Google --                                          6         THE WITNESS: It is fair to say Google
       7          MS. CLEMONS: Objection; form.                     7   has taken steps with regard to search ads.
       8    BY MS. GOODMAN:                                         8   BY MS. GOODMAN:
       9       Q. -- relative to CMS's advertising?                 9      Q. How about with respect to display ads?
      10          MS. CLEMONS: Same objection.                     10   Are you aware of any conduct on the part of
      11          THE WITNESS: That's a lot to try to              11   Google with respect to display ads that has
      12    recall. So it -- true specifics? No.                   12   negatively impacted CMS's advertising?
      13    Conversations? Yes.                                    13         MS. CLEMONS: Objection to form. And I
      14    BY MS. GOODMAN:                                        14   would caution the witness not to -- to answer the
      15       Q. Any other types of conversations, other          15   question if your answer would reveal privileged
      16    than what we've discussed which you recall having      16   communications with counsel.
      17    with Google?                                           17   BY MS. GOODMAN:
      18       A. Yes. Thank you.                                  18      Q. Are you able to answer that question?
      19       Q. You're welcome.                                  19      A. No.
      20       A. In the search ad -- in the search ad             20      Q. Prior to having any conversation with
      21    arena, Google accepts ads -- or has accepted ads,      21   any lawyer with respect to Google Ads, any lawyer
      22    from people who try to look like the government.       22   from the government, did you ever have any
      23    And we discover these ads sometimes. And every         23   concerns that Google was engaging in
      24    time I see one, I would send it to Kunal, to           24   anticompetitive conduct related to display
      25    Michelle. And -- because most digital companies,       25   advertising?

                                                                                                 56 (Pages 218 - 221)
                                                 Veritext Legal Solutions
     800-567-8658                                                                                         973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-5 Filed 05/16/24 Page 5 of 8 PageID# 12111

                                              HIGHLY CONFIDENTIAL
                                                       Page 222                                                   Page 224
       1          MS. CLEMONS: Objection to form. Calls            1   BY MS. GOODMAN:
       2   for a legal conclusion.                                 2      Q. -- who charge on such a basis, to your
       3          THE WITNESS: No.                                 3   knowledge?
       4   BY MS. GOODMAN:                                         4         MS. CLEMONS: Same objection.
       5      Q. And prior to any conversation with any            5         THE WITNESS: There are other providers.
       6   lawyer for the government, did you ever have any        6   BY MS. GOODMAN:
       7   concerns that Google was causing CMS to pay more        7      Q. And do you have the same concerns with
       8   for display advertising than it should have been        8   respect to providers other than Google who charge
       9   paying?                                                 9   on a cost-per-impression basis?
      10      A. Could you rephrase that, please -- or            10         MS. CLEMONS: Objection to form.
      11   not rephrase. Just repeat it. That's what I            11         THE WITNESS: Yes.
      12   meant. I'm so sorry.                                   12   BY MS. GOODMAN:
      13      Q. That's okay.                                     13      Q. Okay. Has anybody at any advertising
      14      A. I used the wrong word.                           14   agency with whom CMS works ever told you that
      15      Q. Prior to any conversation with any               15   Google was engaging in anticompetitive conduct
      16   lawyer for the government, did you ever have any       16   related to display advertising?
      17   concerns that Google was causing CMS to pay more       17      A. Not that I recall.
      18   for display advertising than it should have been       18      Q. Okay. So sitting here today, and prior
      19   paying?                                                19   to any conversation with any lawyer for the
      20          MS. CLEMONS: Objection; form.                   20   government, can you recall any concerns you've
      21          THE WITNESS: The tough part here is             21   ever had with respect to Google's conduct and its
      22   "should have been paying." That's an -- a really       22   affect on CMS's display advertising purchases?
      23   -- that suggests a lot of information.                 23         MS. CLEMONS: Objection to form.
      24          That being said, yes.                           24         THE WITNESS: Extremely informal
      25   BY MS. GOODMAN:                                        25   conversations between me and my colleagues.
                                                       Page 223                                                   Page 225
       1       Q. And what -- what concerns did you have           1   BY MS. GOODMAN:
       2    with respect to Google causing CMS to pay more         2      Q. And what extremely informal
       3    for display advertising than it should have been       3   conversations between you and your colleagues are
       4    paying prior to any conversation with a lawyer         4   you referencing?
       5    for the government?                                    5      A. Ones where we notice that all
       6       A. It is possible -- in fact, indeed,               6   the digital ads that we place go through
       7    probable, that when you are purchasing ads on a        7   double-click; that the analytics come through
       8    cost-per-impression basis, that you're buying          8   Google analytics. There just seems to be a lot
       9    things that are not useful to you.                     9   of Google along the ways. And we've had those
      10       Q. And so in what ways has Google, to your         10   comments, conversations and we just move on.
      11    knowledge, caused you to buy things that are not      11   Because, in the end of the day, we're just doing
      12    useful to you on a cost-per-impression basis?         12   our jobs.
      13    And when I say you, I mean CMS.                       13      Q. And have you rai -- ever raised those
      14          MS. CLEMONS: Objection to form.                 14   conversations with anybody outside of your
      15          THE WITNESS: It has been a concern that         15   colleagues?
      16    we have discussed. Whether it is -- the way you       16         MS. CLEMONS: Objection to the extent
      17    put the question was, like, pure knowledge.           17   that question calls for privileged communications
      18    Because other ways to potentially buy, which we       18   with counsel. If you're -- if you can answer
      19    have not been able to do, would be to buy based       19   without referencing or being informed by
      20    on outcomes instead of impressions.                   20   privileged communications with counsel, you
      21    BY MS. GOODMAN:                                       21   may do so.
      22       Q. And is Google the only provider that you        22         THE WITNESS: Sorry. I'm just trying to
      23    buy ads on an impression basis for, or are there      23   think and remember. It's mental gymnastics at
      24    other providers --                                    24   this point. So --
      25          MS. CLEMONS: Objection to form.                 25   BY MS. GOODMAN:

                                                                                                57 (Pages 222 - 225)
                                                 Veritext Legal Solutions
     800-567-8658                                                                                        973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-5 Filed 05/16/24 Page 6 of 8 PageID# 12112

                                             HIGHLY CONFIDENTIAL
                                                       Page 246                                                  Page 248
       1    ads for CMS, the ad agency makes the purchase,         1          MS. CLEMONS: Objection to form.
       2    the ad agency pays Google for the purchase. CMS        2   Foundation. Calls for a legal conclusion.
       3    does not pay Google directly, but, rather, sends       3          THE WITNESS: I do not know if the FAR
       4    a check to the advertising agency? Am I correct?       4   prohibits purchasing of ads from Google.
       5          MS. CLEMONS: Objection to form.                  5   BY MS. GOODMAN:
       6    Foundation. Calls for a legal conclusion.              6      Q. Okay. Do you know if it permits it?
       7          THE WITNESS: CMS sends an electronic             7          MS. CLEMONS: Objection to form,
       8    data -- electronic -- not data, EFT. What's it         8   foundation, and calls for a legal conclusion.
       9    called? Anyway, an electronic funds transfer to        9          THE WITNESS: Well, as we do purchase
      10    our ad agencies for the purposes of ads from          10   ads from Google, I imagine it does.
      11    Google.                                               11   BY MS. GOODMAN:
      12    BY MS. GOODMAN:                                       12      Q. Okay.
      13       Q. And it does not send the EFT -- CMS does        13      A. Because the Contracting Office would
      14    not send the EFT to Google, correct?                  14   probably stop us.
      15          MS. CLEMONS: Objection to form.                 15      Q. And does the FAR permit CMS to pay
      16          THE WITNESS: CMS sends the finances for         16   Google directly, meaning sending the electronic
      17    the ads, based on our direction and our strategic     17   funds from CMS to Google, without using your ad
      18    planning, to our ad agencies to pay Google.           18   agency as the intermediary? Does the FAR permit
      19    BY MS. GOODMAN:                                       19   CMS to pay Google directly for any digital ads
      20       Q. And what happens if the ad agency does          20   that it buys.
      21    not pay Google? Can Google come seek payment          21          MS. CLEMONS: Objection to form and
      22    from CMS?                                             22   foundation and calls for a legal conclusion.
      23          MS. CLEMONS: Objection to form.                 23          THE WITNESS: I'm not expert enough on
      24    Foundation. Calls for a legal conclusion.             24   the FAR, nor do I think that the FAR directly
      25          THE WITNESS: A vendor who has                   25   talks about that topic as you laid it out.
                                                       Page 247                                                  Page 249
       1    worked with a prime contractor for the federal         1   BY MS. GOODMAN:
       2    government -- and it's not paid for by the prime       2      Q. Okay. In the normal course of your
       3    contractor -- can reach out to the federal             3   work, do you consider the Department of Justice
       4    government.                                            4   Antitrust Division to be counsel for the
       5    BY MS. GOODMAN:                                        5   Strategic Marketing Group at CMS?
       6       Q. Okay. And when they -- when you say              6          MS. CLEMONS: Objection to form.
       7    "they can reach out to the federal government,"        7          THE WITNESS: Yes.
       8    are you referring to any actual ability from           8   BY MS. GOODMAN:
       9    -- for them to demand payment from the federal         9      Q. Why?
      10    government?                                           10      A. Because they are legal counsel for the
      11           MS. CLEMONS: Objection to form.                11   federal government, --
      12    Foundation. Calls for a legal conclusion.             12      Q. Okay.
      13           THE WITNESS: You are now getting into          13      A. -- and I'm part of the federal
      14    areas of the FAR, which is what governs federal       14   government.
      15    payment of things, for which my knowledge is,         15      Q. When did you first become involved
      16    unfortunately, a little vague.                        16   -- strike that.
      17    BY MS. GOODMAN:                                       17          When did you first become aware of an
      18       Q. Okay. When you say the FAR, what do you         18   investigation by the Department of Justice into
      19    mean?                                                 19   Google?
      20       A. It is a -- part of the Federal Code that        20          MS. CLEMONS: Objection to form.
      21    governs the federal government's purchasing of        21   Foundation.
      22    goods and services.                                   22          THE WITNESS: Approximately?
      23       Q. Okay. And does the FAR permit CMS to            23   BY MS. GOODMAN:
      24    pay Google directly for any digital ads that it       24      Q. Yes. Approximately.
      25    buys.                                                 25      A. This past winter.

                                                                                               63 (Pages 246 - 249)
                                                Veritext Legal Solutions
     800-567-8658                                                                                       973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-5 Filed 05/16/24 Page 7 of 8 PageID# 12113

                                             HIGHLY CONFIDENTIAL
                                                       Page 250                                                     Page 252
       1       Q. Was it in 2023 or 2022?                          1   Microsoft Teams invite for a meeting. Subject:
       2       A. I believe it was in 2023.                        2   DOJ HHS CMS call regarding online advertising
       3       Q. And how did you become aware in 2023 of          3   purchasing, which you are on in the "To" line,
       4    an investigation by the Department of Justice          4   correct?
       5    into Google?                                           5      A. I'm trying to get the subject. I will
       6          MS. CLEMONS: Objection; privileged.              6   say what is correct is that I am on the "To"
       7    And I'm going to instruct the witness not to           7   line.
       8    answer to the extent that your answer would be         8          Ah, there's the subject. Sorry.
       9    informed by or reveal privileged communications        9          DOJ HHS CMS call regarding online
      10    with counsel.                                         10   advertising purchasing, so, yes, correct.
      11    BY MS. GOODMAN:                                       11      Q. And this -- did you recall -- do you
      12       Q. Are you able to answer that question,           12   recall participating in this call on January 6th,
      13    sir?                                                  13   2023?
      14       A. No.                                             14      A. Yes.
      15       Q. Okay. So is it fair to say, then, you           15      Q. Okay. And to your recollection, did the
      16    became aware of an investigation by DOJ through       16   call last the 30 minutes between 3 and 3:30 p.m.
      17    lawyers?                                              17   as reflected on this meeting invite?
      18          MS. CLEMONS: Objection. Calls for               18      A. I do not recollect.
      19    privileged information. I'm going to instruct         19      Q. Okay. Do you think it lasted longer or
      20    the witness not to answer.                            20   shorter than that amount of time?
      21          MS. GOODMAN: I'm not asking for the             21      A. I do not recollect.
      22    communications. I'm asking for how he learned of      22      Q. Okay. Did you understand the purpose of
      23    something. The fact of learning it from lawyers       23   this call to -- for DOJ to understand how CMS
      24    is not privileged, one way or another. I'm not        24   buys online ads?
      25    asking for the communications by which he learned     25          MS. CLEMONS: Objection. To the
                                                       Page 251                                                     Page 253
       1    of it. I'm not asking for the substance of any         1   extent that question calls for privileged
       2    discussions. I'm asking for how he learned this        2   communications with counsel, I'm going to
       3    fact.                                                  3   instruct the witness not to answer if your answer
       4           MS. CLEMONS: You are assuming that he           4   would be informed by communications with counsel.
       5    learned something and then asking whether he           5   BY MS. GOODMAN:
       6    learned that fact through communications with          6      Q. Are you able to answer that question?
       7    counsel, which is the topic of the communication       7      A. I'm going to take counsel's direction.
       8    with counsel through which someone would learn         8      Q. Okay. So the only knowledge you have as
       9    something.                                             9   to the purpose of this call is from lawyers; is
      10           MS. GOODMAN: And it's the same kind of         10   that correct?
      11    thing that would appear on a privilege log. It        11         MS. CLEMONS: You can answer yes or no.
      12    doesn't delve into the substance of the               12         THE WITNESS: I don't recall.
      13    communications.                                       13   BY MS. GOODMAN:
      14           MS. CLEMONS: I'm going to instruct the         14      Q. Okay. Sitting here today, can you think
      15    witness not to answer.                                15   of any other source, other than communications
      16    BY MS. GOODMAN:                                       16   with counsel, that informed your understanding of
      17       Q. Okay. Are you going to follow that              17   the purpose of this call in Exhibit 71 on January
      18    instruction?                                          18   6th, 2023?
      19       A. Yes.                                            19         MS. CLEMONS: I'm going to object to the
      20       Q. Okay.                                           20   extent it calls for communications with other CMS
      21           MS. GOODMAN: Can I have Tab 3?                 21   employees that were directed by counsel. So you
      22           (Exhibit No. 71, a document Bates              22   may answer so long as your answer would not
      23    Numbered CMS-ADS-189390, was introduced.)             23   reveal privileged communications with counsel or
      24    BY MS. GOODMAN:                                       24   directed by counsel.
      25       Q. Exhibit 71, CMS-ADS-189390. This is a           25   BY MS. GOODMAN:

                                                                                                 64 (Pages 250 - 253)
                                                Veritext Legal Solutions
     800-567-8658                                                                                         973-410-4098
Case 1:23-cv-00108-LMB-JFA Document 630-5 Filed 05/16/24 Page 8 of 8 PageID# 12114

                                            HIGHLY CONFIDENTIAL
                                                        Page 290                                                       Page 292
       1    deposition is over and that Google does not have        1 Katherine Clemons Esq
       2    grounds to hold the deposition open.                    2 Katherine.clemons@usdoj.gov
       3          MS. GOODMAN: Okay. Thank you for your             3                  August 22nd, 2023
       4    time, Mr. Koepke.                                       4 RE: United States, Et Al v. Google, LLC
       5          THE WITNESS: It was my pleasure. This             5     8/21/2023, Christopher Koepke (#6043164)
       6    was fun.                                                6     The above-referenced transcript is available for
       7          THE VIDEOGRAPHER: Time is 6:23 p.m.               7 review.
       8    We're off the record.                                   8     Within the applicable timeframe, the witness should
       9          (Deposition concluded -- 6:23 p.m.)               9 read the testimony to verify its accuracy. If there are
      10                                                           10 any changes, the witness should note those with the
      11                                                           11 reason, on the attached Errata Sheet.
      12                                                           12     The witness should sign the Acknowledgment of
      13                                                           13 Deponent and Errata and return to the deposing attorney.
      14                                                           14 Copies should be sent to all counsel, and to Veritext at
      15                                                           15 (erratas-cs@veritext.com).
      16                                                           16
      17                                                           17 Return completed errata within 30 days from
      18                                                           18 receipt of testimony.
      19                                                           19 If the witness fails to do so within the time
      20                                                           20 allotted, the transcript may be used as if signed.
      21                                                           21
      22                                                           22            Yours,
      23                                                           23            Veritext Legal Solutions
      24                                                           24
      25                                                           25
                                                        Page 291                                                       Page 293
       1            CERTIFICATE                                     1 United States, Et Al v. Google, LLC
       2                                                            2 Christopher Koepke (#6043164)
       3         I do hereby certify that I am a Notary             3           ERRATA SHEET
       4   Public in good standing, that the aforesaid              4 PAGE_____ LINE_____ CHANGE________________________
       5   testimony was taken before me, pursuant to               5 __________________________________________________
       6   notice, at the time and place indicated; that            6 REASON____________________________________________
       7   said deponent was by me duly sworn to tell the           7 PAGE_____ LINE_____ CHANGE________________________
       8   truth, the whole truth, and nothing but the              8 __________________________________________________
       9   truth; that the testimony of said deponent was
                                                                    9 REASON____________________________________________
      10   correctly recorded in machine shorthand by me and
                                                                   10 PAGE_____ LINE_____ CHANGE________________________
      11   thereafter transcribed under my supervision with
                                                                   11 __________________________________________________
      12   computer-aided transcription; that the deposition
                                                                   12 REASON____________________________________________
      13   is a true and correct record of the testimony
                                                                   13 PAGE_____ LINE_____ CHANGE________________________
      14   given by the witness; and that I am neither of
                                                                   14 __________________________________________________
      15   counsel nor kin to any party in said action, nor
                                                                   15 REASON____________________________________________
      16   interested in the outcome thereof.
                                                                   16 PAGE_____ LINE_____ CHANGE________________________
      17
      18       WITNESS my hand and official seal this              17 __________________________________________________

      19   22nd day of August, 2023.                               18 REASON____________________________________________
      20                                                           19 PAGE_____ LINE_____ CHANGE________________________
      21                                                           20 __________________________________________________
                       <%11516,Signature%>                         21 REASON____________________________________________
      22                 Notary Public                             22
      23                                                           23 ________________________________ _______________
      24                                                           24 Christopher Koepke               Date
      25                                                           25

                                                                                                        74 (Pages 290 - 293)
                                               Veritext Legal Solutions
     800-567-8658                                                                                             973-410-4098
